                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Andres A. Perez, et al.
                                       Plaintiff,
v.                                                        Case No.: 1:21−cv−00013
                                                          Honorable Manish S. Shah
Elite Valet Systems, Inc., et al.
                                       Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, February 14, 2022:


        MINUTE entry before the Honorable Manish S. Shah: Defendants filed no
objections to the motion for an award of attorneys fees. Any objections are waived. The
hourly rate charged by plaintiffs' counsel is reasonable, based on counsel's experience and
the rate set by other similar awards, and the time spent on the litigation was appropriately
documented by counsel's supporting affidavit and exhibit and also reasonable. The motion
for attorney fees [25] is granted. Plaintiffs are awarded $26,550 in attorneys' fees. (mss)




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